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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                CASE NO. 3:19cr112/MCR

EDWINA DENISE COFIELD
 a/k/a “Niecy”
_____________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, EDWINA DENISE COFIELD, to Counts One, Two, Three, Four, Five,

Six, and Seven of the superseding indictment is hereby ACCEPTED. All parties

shall appear before this Court for sentencing as directed.

      DONE and ORDERED this 2nd day of July 2020.



                                        s/   M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE
